Case 4:18-cv-00574-ALM Document 38 Filed 01/22/19 Page 1 of 2 PageID #: 1937



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 STAR SYSTEMS INTERNATIONAL                       §
 LIMITED,                                         §
                                                  §
        Plaintiff,                                §
                                                  §
 v.                                               §          Civil Action No. 4:18-cv-574
                                                  §
 NEOLOGY, INC.,                                   §
                                                  §
        Defendant.                                §


                          DEFENDANT’S NOTICE OF APPEAL


       Defendant Neology, Inc. (“Defendant”) files this Notice of Appeal of this Court’s

Memorandum Opinion and Order dated January 16, 2019 [Dkt. 37], under the collateral order

doctrine applicable to the Texas Citizens Participation Act (“TCPA”) as discussed in NCDR,

L.L.C. v. Mauze & Bagby, PLLC., 745 F.3d 742 (5th Cir. 2014).

       This appeal is being taken to the United States Court of Appeals for the Fifth Circuit.


                                             Respectfully submitted,


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DEFENDANT’S NOTICE OF APPEAL                                                                PAGE 1
Case 4:18-cv-00574-ALM Document 38 Filed 01/22/19 Page 2 of 2 PageID #: 1938




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Federal Rule of Civil Procedure 5(d) and Local Rule CV-5(a) and was served on
counsel of record on January 22, 2019.


                                          /s/ Jeffrey W. Hellberg
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DEFENDANT’S NOTICE OF APPEAL                                                          PAGE 2
